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                     UNITED STATES DISTRICT COURT
                      MIDDLE DISTRICT OF FLORIDA
                         FORT MYERS DIVISION

JANE DOE,
     Plaintiff,

vs.                                     CASE NO: 2:22-cv-00200

FELIPE JAVIER VAZQUEZ,                  DEMAND FOR A JURY TRIAL
     Defendant.


                                  COMPLAINT

      Plaintiff, Jane Doe, by and through her undersigned counsel, hereby sues

Defendant, Felipe Javier Vazquez, and alleges:

JURISDICTION

      1.    This is an action for relief pursuant to 18 U.S.C. § 2255, and therefore

this Court has jurisdiction pursuant to 28 U.S.C. § 1331.

      2.    This is also an action in which the amount in controversy exceeds the

sum of $75,000.00, exclusive of interest and costs, and is between a citizen of

Florida (Plaintiff) and citizen of a foreign state who, on information and belief is

lawfully admitted to the United States but who is domiciled in the Commonwealth

of Pennsylvania (Defendant) and therefore this Court would also have jurisdiction

pursuant to 28 U.S.C. § 1332.
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        3.     This is also an action for relief pursuant to state Common Law; and

therefore this Court has supplemental jurisdiction over those claims pursuant to

28 U.S.C. § 1367(a), as those claims form part of the same case or controversy as

the claims arising under the above-referenced federal act.

VENUE

        4.     Venue in this Court is proper pursuant to 28 U.S.C. § 1391 (b)(2), as a

substantial part of the crimes committed by Defendant, Felipe Javier Vazquez,

giving rise to the claims herein were committed by the Defendant within the

geographic confines of the Middle District of Florida.

PARTIES

        5.     Plaintiff, Jane Doe, is an adult United States citizen domiciled in Lee

County, Florida; and, at all times pertinent to this case, was an unemancipated

minor child who was subjected to sexual crimes committed by Defendant, Felipe

Javier Vazquez, beginning when she was 12 years old, including sexual battery

and child pornography crimes. 1




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         Defendant Vazquez has been criminally convicted by a jury for several of his offenses
against Jane Doe in the Commonwealth of Pennsylvania and is serving a prison term at the time
of this filing. The criminal case garnered substantial press coverage nationwide due to the
notoriety of Defendant Vazquez as a highly successful Major League Baseball player. Plaintiff
has no such notoriety. In accord with the substantial privacy interests of Plaintiff as a child sexual
abuse survivor, in particular in a case like this one involving severe mental health harm and a
history of extensive press coverage, the name “Jane Doe” is a pseudonym. Plaintiff is filing
contemporaneously with this Complaint a motion for leave to proceed anonymously in this
litigation which addresses the issues and her mental health needs in greater detail. See, Plaintiff
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       6.     Defendant, Felipe Javier Vazquez, is an individual and is not a United

States citizen.     Defendant Vazquez is domiciled in the Commonwealth of

Pennsylvania, albeit involuntarily as an inmate in a Commonwealth prison. At all

times material to the events at issue in this Complaint, Defendant Vazquez was an

adult at or over 25 years of age.

ALLEGATIONS COMMON TO ALL COUNTS

       7.     Defendant Vazquez did commit numerous sex-based crimes against

Jane Doe while she was a minor child, beginning when she was age 12 and

continuing until she was 15, when her parents discovered the ongoing offenses,

including without necessary limitation the following crimes that he committed

against Jane Doe in the state of Florida and the Commonwealth of Pennsylvania:

              a.      Child pornography violations of 18 Pa. C.S. § 6312, including

       solicitation and receipt via the Internet and cellular telephone of sexually

       explicit images and video recordings of the minor child, and transmission

       via the Internet and cellular telephone to the child of photographs and video

       recordings of himself engaged in sexual acts as an adult.

              b.      Unlawful contact with the minor child for purposes of

       engaging in sexual activity with that minor in violation of 18 Pa. C.S. § 6318




B. v. Francis, 631 F. 3d 1310 (11th Cir. 2011). Notwithstanding, Defendant Vazquez and his legal
counsel in the aforesaid criminal proceedings are aware of Jane Doe’s identity.
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              c.      Sexual assault on the minor child in violation of 18 Pa. C.S. §

      3122, up to and including vaginal intercourse with her when she was 13

      years of age.

              d.      Indecent assault on the minor child in violation of 18 Pa. C.S. §

      3126.

              e.      Corruption of the minor child in violation of 18 Pa. C.S. § 6301.

              f.      Mental, emotional and sexual child abuse and child sexual

      exploitation, resulting in substantial harm to the minor child’s mental and

      emotional health, as defined by Fla. Stat. § 39.01(2) and (34); with said

      offenses having been committed by Vazquez in violation of, without

      necessary limitation: Fla. Stat. § 827.03 (1)(b) and (2)(c) (pertaining to child

      abuse); Fla. Stat. § 827.071 (3) (pertaining to promoting a sexual performance

      by a child); Fla. Stat. § 827.071 (4) (pertaining to possession of child

      pornography with intent to promote a sexual performance by a child); Fla.

      Stat. § 847.0135 (pertaining to use of computers to abuse, exploit, solicit or

      attempt to exploit a child sexually); and Fla. Stat. § 777.04 (pertaining to

      criminal attempt and criminal solicitation).

      8.      Defendant Vazquez’s aforesaid numerous sex-based crimes against

Jane Doe also included, without necessary limitation, the following offenses that

he committed against Jane Doe in violation of the laws of the United States:


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            a.     18 U.S.C. § 1470 of Title 18, pertaining to transferring or

      attempting to transfer obscene matter using a means of interstate commerce

      to a minor, like Jane Doe, under 16 years of age.

            b.     18 U.S.C. § 2251, 18 U.S.C. § 2252 and 18 U.S.C. § 2252A,

      pertaining to the production, distribution, reception, and possession of an

      image of child pornography with use of or affecting any means or facility of

      interstate or foreign commerce; including to persuade, induce, entice, or

      coerce a minor to engage in sexually explicit conduct for purposes of

      producing visual depictions of that conduct.

      9.    To facilitate his crimes detailed herein, Defendant, Felipe Javier

Vazquez, did groom, entice and manipulate Jane Doe as a minor child into

communicating and meeting with him based on his celebrity status as a star

pitcher and renowned professional Major League Baseball player with the

Pittsburgh Pirates, as well as other Major League Baseball teams previously,

including the Tampa Bay Rays and the Washington Nationals. The purposeful

process and tactics employed by Defendant Vazquez, in and of themselves,

infused a false sense of fault in Jane Doe for her own abuses, and otherwise

inflicted emotional distress and mental health harm on Jane Doe which constituted

child abuse in addition to the sexual offenses detailed herein.




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      10.    Until law enforcement interceded, Defendant, Felipe Javier Vazquez,

did maintain on his cellular telephone and personal computer pornographic

photographs and video recordings of Jane Doe that constituted child pornography

in violation of aforesaid state and federal criminal statutes.

      11.    Defendant, Felipe Javier Vazquez, admitted upon confrontation with

law enforcement officials that, at all pertinent times during which he engaged in

the sex crimes at issue in this Complaint, he was aware that Jane Doe appeared

“too young” for the sexual activities and was not of lawful age to engage in any

form of the sexual activities that he instigated.

      12.    Defendant, Felipe Javier Vazquez, admitted upon confrontation with

law enforcement officials that he did engage in sexual acts with Jane Doe when

she was 13 years of age, including vaginal intercourse.

      13.    As a direct and proximate result of the aforesaid criminal conduct

committed against Jane Doe by Defendant, Felipe Javier Vazquez, Plaintiff has

suffered physical pain and injury and mental health damages requiring substantial

ongoing professional medical and mental health assessment and treatment, and

she will continue to require those interventions in the future.

      14.    Plaintiff has retained the undersigned law firms and has agreed to

pay them reasonable attorneys’ fees and costs for their representation in this

matter.


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COUNT 1 – CIVIL ACTION PURSUANT TO 18 U.S.C. § 2255

      15.    Plaintiff realleges and incorporates by reference the Facts Common to

All Counts alleged above.

      16.    Pursuant to 18 U.S.C. § 2255, Plaintiff is entitled to recover civil

damages from Defendant, Felipe Javier Vazquez, for his aforesaid violations of 18

U.S.C. §§ 2251, 2252, and 2252A, in which he victimized her as a minor child.

      17.    The damages to which Plaintiff is entitled include her actual damages

or liquidated damages in the amount of $150,000, costs of this action and this

litigation and reasonable attorney’s fees, as well as punitive damages.

      18.    Defendant’s aforesaid violations of federal law proximately and

foreseeably caused actual damages to Plaintiff which she suffered in the past,

continues to suffer, and will continue to suffer in the future.

      19.    Plaintiff’s actual past, present, and future damages include, without

necessary limitation: expenses for medical services for physical, psychiatric, and

psychological care; mental health harm of a psychological and psychiatric nature,

including trauma-based ailments and conditions co-morbid to trauma; emotional

distress, pain and suffering; embarrassment, diminished self-esteem, disgrace,

humiliation, and other pain and suffering; loss of capacity for the enjoyment of

life; loss of income and lost earning capacity; aggravation of prior medical and

mental health conditions; and reasonable attorneys’ fees and costs.


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      20.    Plaintiff’s injuries are continuing in nature and Plaintiff will continue

to suffer pain and emotional damage and permanent mental health injury in the

future; and Plaintiff will require additional medical and mental health care and

treatment for her injuries and ailments and will continue to suffer the loss of

capacity for the enjoyment of life.

      WHEREFORE, Plaintiff, JANE DOE, demands judgment against Defendant,

FELIPE JAVIER VAZQUEZ, for all compensatory and punitive damages available

at law, attorneys’ fees and costs, as well as such other and further relief as the

Court deems just and equitable under the circumstances.

COUNT 2 – SEXUAL ABUSE OF MINOR CHILD IN VIOLATION OF
PENNSYLVANIA LAW

      21.    Plaintiff realleges and incorporates by reference the Facts Common to

All Counts alleged above.

      22.    From and within the Commonwealth of Pennsylvania, Defendant

Vazquez did solicit and facilitate the creation of pornographic images and videos

of Plaintiff while she was a minor child, including the transmission of those images

and videos with the use of the Internet and cellular telephones.

      23.    From and within the Commonwealth of Pennsylvania, Defendant

Vazquez did transmit to Plaintiff while she was a minor child adult-oriented and

sexual images.



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      24.    From and within the Commonwealth of Pennsylvania, Defendant

Vazquez did transmit to Plaintiff, while she was a minor child, communications of

an adult-oriented and sexual nature.

      25.    Within the Commonwealth of Pennsylvania, Defendant Vazquez did

initiate and engage in sexual acts with Plaintiff while she was a minor child, up to

and including vaginal sexual intercourse.

      26.    At all times, Defendant Vazquez knew that Plaintiff Jane Doe was a

minor child legally incapable of providing consent to any acts or communications

of a sexual nature with him as a grown adult man.

      27.    The aforesaid conduct of Defendant Vazquez towards Plaintiff, Jane

Doe, constituted child abuse and child sexual abuse under Pennsylvania law.

      28.    Defendant’s aforesaid violations of law proximately and foreseeably

caused damages to Plaintiff which she suffered in the past, continues to suffer and

will continue to suffer in the future.

      29.    Plaintiff’s past, present, and future damages include, without

necessary limitation: expenses for medical services for physical, psychiatric, and

psychological care; mental health harm of a psychological and psychiatric nature,

including trauma-based ailments and conditions co-morbid to trauma; emotional

distress, pain and suffering; embarrassment, diminished self-esteem, disgrace,

humiliation, and other pain and suffering; loss of capacity for the enjoyment of


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life; loss of income and lost earning capacity; and aggravation of prior medical and

mental health conditions.

      30.    Plaintiff’s injuries are continuing in nature and Plaintiff will continue

to suffer pain and emotional damage and permanent mental health injury in the

future; and Plaintiff will require additional medical and mental health care and

treatment for her injuries and ailments and will continue to suffer the loss of

capacity for the enjoyment of life.

      WHEREFORE, Plaintiff, JANE DOE, demands judgment against Defendant,

FELIPE JAVIER VAZQUEZ, for all compensatory and punitive damages available

at law, attorneys’ fees and costs, as well as such other and further relief as the

Court deems just and equitable under the circumstances.

COUNT 3 – SEXUAL ABUSE OF MINOR CHILD IN VIOLATION OF
FLORIDA LAW

      31.    Plaintiff realleges and incorporates by reference the Facts Common to

All Counts alleged above.

      32.    From and within the State of Florida, Defendant, FELIPE JAVIER

VAZQUEZ, did solicit and facilitate the creation of pornographic images and

videos of Plaintiff while she was a minor child, including the transmission of those

images and videos with the use of the Internet and cellular telephones.

      33.    From and within the State of Florida, Defendant Vazquez did

transmit to Plaintiff while she was a minor child adult-oriented and sexual images.

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      34.    From and within the State of Florida, Defendant Vazquez did

transmit to Plaintiff, while she was a minor child, communications of an adult-

oriented and sexual nature.

      35.    At all times, Defendant Vazquez knew that Plaintiff, Jane Doe, was a

minor child legally incapable of providing consent to any acts of a sexual nature

with him as a grown adult man.

      36.    The aforesaid conduct of Defendant Vazquez towards Plaintiff, Jane

Doe, constituted child abuse and child sexual abuse under Pennsylvania law.

      37.    Defendant’s aforesaid violations of law proximately and foreseeably

caused damages to Plaintiff which she suffered in the past, continues to suffer, and

will continue to suffer in the future.

      38.    Plaintiff’s past, present, and future damages include, without

necessary limitation: expenses for medical services for physical, psychiatric, and

psychological care; mental health harm of a psychological and psychiatric nature,

including trauma-based ailments and conditions co-morbid to trauma; emotional

distress, pain and suffering; embarrassment, diminished self-esteem, disgrace,

humiliation, and other pain and suffering; loss of capacity for the enjoyment of

life; loss of income and lost earning capacity; and aggravation of prior medical and

mental health conditions.




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      39.    Plaintiff’s injuries are continuing in nature and Plaintiff will continue

to suffer pain and emotional damage and permanent mental health injury in the

future; and Plaintiff will require additional medical and mental health care and

treatment for her injuries and ailments and will continue to suffer the loss of

capacity for the enjoyment of life.

      WHEREFORE, Plaintiff, JANE DOE, demands judgment against Defendant,

FELIPE JAVIER VAZQUEZ, for all compensatory and punitive damages available

at law, attorneys’ fees and costs, as well as such other and further relief as the

Court deems just and equitable under the circumstances.

TRIAL BY JURY

      Plaintiff demands trial by jury on all issues so triable.


                                      Respectfully submitted,

                                      /s/ Michael Dolce
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